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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                               JACKSONVILLE DIVISION

 UNITED STATES OF AMERICA

 v.                                                CASE NO: 3:12-cr-125-J-34JRK

 FRANK FREITAS HIGGINBOTHAM                        ORDER ON MOTION FOR
                                                   SENTENCE REDUCTION UNDER
                                                   18 U.S.C. § 3582(c)(1)(A)


                                          ORDER

         Upon motion of      the defendant       the Director of the Bureau of Prisons for a

 reduction in sentence under 18 U.S.C. § 3582(c)(1)(A), and after considering the factors

 identified in 18 U.S.C. § 3553(a) and the applicable policy statements issued by the

 Sentencing Commission,

 IT IS ORDERED that the motion is:

      DENIED after complete review of the motion on the merits. 1

            FACTORS CONSIDERED

         Defendant Frank Higginbotham is a 44-year-old inmate incarcerated at Fort Dix

 FCI, serving a 152-month term of imprisonment for conspiracy to manufacture five grams

 or more of methamphetamine and the distribution of methamphetamine. (Doc. 84,

 Judgment; Doc. 108, Order Reducing Sentence). 2 According to the Bureau of Prisons



 1
        Higginbotham submitted requests for compassionate release to the warden of his facility
 on July 8, 2020, and again on August 28, 2020, both of which were denied. (See Doc. 113-4
 through Doc. 113-7). Higginbotham filed the instant Motion on October 1, 2020, more than 30
 days after he submitted the second request for compassionate release. As such, Higginbotham
 has satisfied § 3582(c)(1)(A)’s 30-day exhaustion alternative. See 18 U.S.C. § 3582(c)(1)(A).
 2
        The Court originally sentenced Higginbotham to a term of 190 months in prison. However,
 the Court reduced his term of imprisonment to 152 months pursuant to Amendment 782 to the
 United States Sentencing Guidelines.
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 (BOP), he is scheduled to be released from prison on January 14, 2022. Higginbotham

 seeks compassionate release because of the Covid-19 pandemic and because he suffers

 from obesity (as measured by a body mass index [BMI] of 33.2) and asthma. (Doc. 113,

 Motion).

        A movant for compassionate release bears the burden of proving that a reduction

 in sentence is warranted. United States v. Heromin, No. 8:11-cr-550-T-33SPF, 2019 WL

 2411311, at *2 (M.D. Fla. Jun. 7, 2019); cf. United States v. Hamilton, 715 F.3d 328, 337

 (11th Cir. 2013) (a movant under § 3582(c)(2) bears the burden of proving that a sentence

 reduction is appropriate). As the Third Circuit Court of Appeals has observed, the mere

 existence of Covid-19 cannot independently justify compassionate release, “especially

 considering BOP's statutory role, and its extensive and professional efforts to curtail the

 virus’s spread.” United States v. Raia, 954 F.3d 594, 597 (3d Cir. 2020).

        Higginbotham has not demonstrated extraordinary and compelling reasons

 warranting compassionate release. 18 U.S.C. § 3582(c)(1)(A). Although the record

 supports Higginbotham’s assertion that he is obese and has asthma, based on the record

 before the Court, Higginbotham’s circumstances are not extraordinary and compelling.

 According to the Centers for Disease Control (CDC), certain underlying conditions

 increase the risk of severe illness from Covid-19 while other conditions might increase

 the risk of serious illness. 3 Obesity falls into the former category while moderate-to-

 severe asthma falls into the latter. Although Higginbotham’s BMI of 33.2 qualifies him as




 3
         https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/people-with-medical-
 conditions.html.


                                              2
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 obese, see Motion at 7, his obesity is mild. 4 Moreover, as this Court has stated before,

 obesity is not an extraordinary condition: “[A]s of 2017-2018, 42.4% of American adults

 suffer from obesity.[5] Assuming federal prisoners experience th[is] condition[ ] at about

 the same rate as the general population, if [obesity] qualified as an extraordinary and

 compelling reason, roughly half the prison population would be eligible for compassionate

 release.” United States v. Hayes, No. 3:18-cr-37-J-34JBT, 2020 WL 3611485, at *2 (M.D.

 Fla. July 2, 2020). In addition, Higginbotham is not an elderly inmate, and he receives

 treatment for his asthma, including a budenosine/formoterol inhaler (Symbicort),

 fluticasone spray, an albuterol inhaler, ipratropium, mometasone furoate, and

 montelukast sodium tablets (Singulair). (Doc. 113-3, Medical Records at 33-35).

 Higginbotham describes his own asthma as severe, but the medical records do not

 confirm that categorization. See generally Medical Records. Indeed, Higginbotham is

 classified as a Care Level 1 inmate – which is a “healthy or simple chronic care” inmate.

 (Doc. 113-1, Progress Report at 2). Thus, Higginbotham has not shown extraordinary and

 compelling reasons for compassionate release. See U.S.S.G. § 1B1.13 & cmt. 1. 6

        In any event, the sentencing factors under 18 U.S.C. § 3553(a) do not support a

 reduction in sentence. 18 U.S.C. § 3582(c)(1)(A); U.S.S.G. § 1B1.13. Higginbotham was


 4
         The CDC defines obesity as having a BMI of 30.0 or greater. https://www.cdc.gov/obesity/
 adult/defining.html. The CDC divides obesity into three categories: Class 1 obesity (BMI of at least
 30 but less than 35), Class 2 obesity (BMI of at least 35 but less than 40), and Class 3 or “severe”
 obesity (a BMI of 40 of greater).
 5
        https://www.cdc.gov/obesity/data/adult.html.
 6
          The Court recognizes there is a split of authority over whether district courts are bound by
 the list of extraordinary and compelling reasons contained in U.S.S.G. § 1B1.13, cmt. 1(A)-(C).
 See United States v. Brooker, — F.3d —, No. 19–3218–CR (2d Cir. Sept. 25, 2020), Slip Op. at
 12. The Court’s decision does not depend on the resolution of that issue because it would reach
 the same conclusion if it had independent authority to identify extraordinary and compelling
 reasons.


                                                  3
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 convicted of conspiracy to manufacture methamphetamine and the distribution of

 methamphetamine. The amount of actual methamphetamine attributable to him was

 97.68 grams. (Doc. 103, Amendment 782 Memorandum and Presentence Investigation

 Report [PSR] at ¶¶ 28, 35). Before the instant case, Higginbotham had prior convictions

 for possessing chemical precursors for manufacturing methamphetamine, possession of

 methamphetamine, and trafficking methamphetamine. Id. at ¶¶ 48, 49. Despite serving

 two prison sentences for those offenses, he quickly returned to the same criminal

 conduct. As the Court explained at sentencing, a sentence in the middle of the guidelines

 range was appropriate because of “Mr. Higginbotham’s repeated conduct in the past,”

 which established him as “a serial methamphetamine producer.” (Doc. 94, Sentencing

 Transcript at 24). “The only thing … that convinced [the Court] that a sentence at the high

 end of the guidelines wasn’t appropriate [was] the fact … that Mr. Higginbotham ha[d]

 never received any drug treatment, and certainly drug treatment is what this individual

 needs.” Id. The Court remarked that “the significant terms of incarceration that he’s had

 … should have had a greater effect on his continued participation in the drug trade” and

 that “the rapidity to which Mr. Higginbotham returned to the manufacture of

 methamphetamine after each release is of grave concern.” Id. at 24-25. Although the

 Court reduced Higginbotham’s term of imprisonment to the middle of the amended

 guidelines range following Amendment 782, see Order Reducing Sentence, a midrange

 sentence remains appropriate. The Court commends Higginbotham for his educational

 pursuits in prison. However, in view of all the § 3553(a) factors, further reducing

 Higginbotham’s term of imprisonment at this time would not be consistent with the

 statutory purposes of sentencing or the Sentencing Commission’s policy statements.




                                             4
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         Accordingly, upon review of the record, Defendant Frank Higginbotham’s Motion

 for Compassionate Release (Doc. 113) is DENIED. 7

         DONE AND ORDERED at Jacksonville, Florida this 2nd day of November, 2020.




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 Copies:
 Counsel of record
 Defendant




 7
        To the extent Defendant requests that the Court order home confinement, the Court
 cannot grant that request because the Attorney General has exclusive jurisdiction to decide which
 prisoners to place in the home confinement program. See United States v. Alvarez, No. 19-cr-
 20343-BLOOM, 2020 WL 2572519, at *2 (S.D. Fla. May 21, 2020); United States v. Calderon,
 801 F. App’x 730, 731-32 (11th Cir. 2020) (a district court lacks jurisdiction to grant a request for
 home confinement under the Second Chance Act).


                                                  5
